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          EXHIBIT A
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                                            January 8, 2025

    The Honorable Charles Grassley                   The Honorable Jim Jordan
    Chairman, Committee on the Judiciary             Chairman, Committee on the Judiciary
    United States Senate                             United States House of Representatives
    Washington, D.C. 20510                           Washington, D.C. 20515

    The Honorable Dick Durbin                        The Honorable Jamie Raskin
    Ranking Member, Committee on the                 Ranking Member, Committee on the
    Judiciary                                        Judiciary
    United States Senate                             United States House of Representatives
    Washington, D.C. 20510                           Washington, D.C. 20515


   Dear Chairman Grassley, Chairman Jordan, Ranking Member Durbin, and Ranking Member
   Raskin:
          Pursuant to 28 C.F.R. § 600.9(a)(3), I write to inform you that Special Counsel John L.
   Smith has concluded his investigation. See Attorney General Order 5559-2022 (November 18,
   2022).
           In addition to this notification, the Special Counsel regulations provide that, when the
   Attorney General notifies Congress of the closure of a Special Counsel investigation, that
   notification is to include, consistent with applicable law, "a description and explanation of
   instances (if any) in which the Attorney General concluded that a proposed action by a Special
   Counsel was so inappropriate or unwarranted under established Departmental practices that it
   should not be pursued." 28 C.F.R. § 600.9(a)(3). There were no such instances during Special
   Counsel Smith's investigation.
           On January 7, 2025, consistent with 28 C.F.R. § 600.8(c), Special Counsel Smith
   submitted to me a two-volume final report with appendices (Report), a transmittal letter, a letter
   from counsel for President Trump, and a letter from Special Counsel Smith in response. This is
   the only report Special Counsel Smith submitted to me. Pursuant to an Order issued on January
   7, 2025, by Southern District of Florida United States District Judge Aileen M. Cannon, the
   Department of Justice is temporarily enjoined from sharing the Report outside the Department of
   Justice and may not share any information or conclusions in the Report. United States v.
   Waltine Nauta and Carlos De Oliveira, No. 23-80101-CR-Cannon, ECF No. 89 (S.D. Fla. Jan. 7,
   2025).
         As I have made clear regarding every Special Counsel who has serve since I took office, I
   am committed to making as much of the Special Counsel's report public as possible, consistent
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   with legal requirements and Department policy. As stated in the Department's filings in the
   Eleventh Circuit Court of Appeals today, when permitted to do so by the court, I intend to
   provide to you and to the public Volume One of the Report. I have determined that releasing
   these materials to you and the public at this time is consistent with 28 C.F.R. § 600.9(c) and
   other applicable law, and that this release is in furtherance of the public interest in informing a
   co-equal branch and the public regarding this significant matter.
          Consistent with local court rules and Department policy, and to avoid any risk of
   prejudice to defendants Waltine Nauta and Carlos De Oliveira, whose criminal cases remain
   pending, I have determined, at the recommendation of the Special Counsel, that Volume Two
   should not be made public so long as those defendants' criminal proceedings are ongoing.
   Therefore, when permitted to do so by the court, I intend to make available to you for in can1era
   review Volume Two of the Report upon your request and agreement not to release any
   information from Volume Two publicly. I have determined that once those criminal proceedings
   have concluded, releasing Volume Two of the Report to you and to the public would also be in
   the public interest, consistent with law and Department policy.
           Finally, consistent with 28 C.F.R. § 600.9(c), I will disclose this letter to the public after
   delivering it to you.




                                                   Merrick B. Garland
                                                   Attorney General




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